                      UNITED STATES DISTRICT COURT FOR THE
                      WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION


UNITED STATES OF AMERICA            )                 DOCKET NO. 3:05CR98-MU
                                    )
            vs.                     )                 ORDER
                                    )
ANTONIO CROCKETT,                   )
                                    )
                  Defendant         )
____________________________________)


       THIS MATTER IS BEFORE THE COURT on the Government’s Motion in Limine for

Conditional Admission of Prior Consistent Statement. While the Court appreciates the Government’s

willingness to give notice of potential evidentiary issues, the Government’s introduction of this

evidence depends entirely on a speculative action to be taken by the Defendant. At this point, it is

unclear whether the evidence will ever come into issue at all. As this Court is not in the business of

issuing advisory opinions, the motion must be DENIED, with leave to be raised anew when and if

the motion becomes ripe.

       IT IS SO ORDERED.



                                                   Signed: April 3, 2006




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